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                  UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA




    BEYOND BLOND                         2:20-cv-05581-DSF-GJSx
    PRODUCTIONS, LLC,
        Plaintiff,                       Order DENYING Motion for
                                         Review of Magistrate Judge’s
                    v.                   Order (Dkt. 412)

    EDWARD HELDMAN III, et al.,
       Defendants.




         Third-party subpoena recipient Mandour & Associates, APC
   (Mandour) has moved for review of the magistrate judge’s order
   granting Plaintiff’s motion to compel Mandour’s compliance with
   Plaintiff’s subpoena. The Court deems this matter appropriate for
   decision without oral argument. See Fed. R. Civ. P. 78; Local Rule 7-
   15.

         Mandour is former counsel for the Defendants in this case.
   Mandour argues that (1) the motion to compel was untimely, (2) the
   discovery at issue would disclose privileged information, (3) Plaintiff’s
   motion violated the settlement between Plaintiff and the two Corporate
   Defendants, ComedyMX, LLC and ComedyMX, Inc., and (4) Mandour is
   barred from producing the discovery under California statutes and
   ethical rules.

         Magistrate judges have the authority to issue non-dispositive
   orders, including discovery orders and pretrial scheduling orders where
   pretrial proceedings have been referred to the magistrate judge.
   Grimes v. City and Cnty. of S.F., 951 F.2d 236, 240 (9th Cir. 1991)
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   (stating Rule 72 and 28 U.S.C. § 636(b)(1)(A) govern the authority of
   magistrate judges to enter non-dispositive discovery orders and the
   review of those orders). If timely objections to a magistrate judge’s non-
   dispositive order are filed, the district judge must consider such
   objections and “modify or set aside any part of the order that is clearly
   erroneous or is contrary to law.” Fed. R. Civ. P. 72(a).

          “The ‘clearly erroneous’ standard applies to the magistrate
   judge’s factual determinations and discretionary decisions . . . .” Davis
   v. Chase Bank U.S.A., N.A., No. CV 06-04804 DDP (PJWX), 2010 WL
   1531410, at *1 (C.D. Cal. Apr. 14, 2010) (citation omitted). “Under this
   standard, the district court can overturn the magistrate judge’s ruling
   only if the district court is left with the definite and firm conviction that
   a mistake has been made.” Id. (citation omitted). “The ‘contrary to law’
   standard, on the other hand, ‘applies to the magistrate judge’s legal
   conclusions, which are reviewed de novo.’” Id. (quoting China Nat’l
   Metal Prods. Imp./Exp. Co. v. Apex Digit., Inc., 155 F. Supp. 2d 1174,
   1177 (C.D. Cal. 2001)).

         The magistrate judge did not enter an order explaining her
   reasoning. However, she implicitly rejected Mandour’s timeliness
   objection and this conclusion is not clearly erroneous.1 As for
   Mandour’s privilege arguments, the magistrate judge had previously
   found that all privileges in the case had been waived. Dkt. 287 at 3
   (July 18, 2022). Defendants did not seek review of this order.
   Therefore, Mandour has no grounds to object to the sought discovery on
   the grounds of privilege.

         The more difficult question is whether the settlement agreement
   with the two Corporate Defendants prevents Plaintiff from seeking to
   enforce the privilege waiver order. This requires the interpretation of



   1 While Plaintiff certainly could have moved faster to move to compel the

   production at issue, large amounts of delay in this case are directly
   attributable to Defendants’ bad acts. In the context of the history of this
   case, it is reasonable to excuse some delay on the part of Plaintiff.



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   the settlement agreement, which is a question of law that the Court
   reviews de novo.

         The settlement agreement states that:

         the Parties hereby agree that, subject to the occurrence of
         the Settlement Effective Date, they shall not enforce or
         attempt to enforce against each other any order, injunction
         or judgment entered by the District Court in the California
         Litigation.

   Dkt. 391-2, § 6.

         The “Parties” are defined to mean Plaintiff and the Corporate
   Defendants, ComedyMX, LLC and ComedyMX, Inc. Id. at 1. In
   multiple places, the agreement makes clear that it applies only to these
   Defendants and not to Defendant Edward Heldman III. See id., §§ 5(b),
   8(c). Section 6, quoted above, states that the Parties will not enforce
   any of the orders in this case “against each other.” This wording does
   not foreclose the possibility of enforcing the orders against other
   relevant parties, such as Heldman or Mandour. It also does not
   purport to reinstate any of the privileges that the Corporate
   Defendants may have previously waived. Therefore, Plaintiff is not
   barred from relying on the magistrate judge’s privilege waiver order to
   compel production of the ostensibly privileged materials at issue.

        The objections are overruled. The motion for review of the
   magistrate judge’s order is therefore DENIED.

         IT IS SO ORDERED.



    Date: April 30, 2025                  ___________________________
                                          The Honorable Dale S. Fischer
                                          United States District Judge




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